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                           UNITED STATES DISTRICT COURT          June 21, 2024
                          EASTERN DISTRICT OF CALIFORNIA       CLERK, US DISTRICT COURT
                                                                             EASTERN DISTRICT OF
                                                                                 CALIFORNIA


UNITED STATES OF AMERICA,                          Case No. 2:24-cr-00091-TLN

                  Plaintiff,

      v.                                                 ORDER FOR RELEASE OF
                                                          PERSON IN CUSTODY
CARLOS LUIS VERA LA CRUZ,

                  Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release CARLOS LUIS VERA LA CRUZ ,

Case No. 2:24-cr-00091-TLN , Charge 18 USC § 371, from custody for the following

reasons:

           Release on Personal Recognizance

           Bail Posted in the Sum of $

                     Unsecured Appearance Bond $

                     Appearance Bond with 10% Deposit

                     Appearance Bond with Surety

                     Corporate Surety Bail Bond

                     (Other):   The defendants release is delayed until 06/21/2024 at
              X
                     9:00 AM.

           Sacramento County Jail is further ORDERED to release the defendant with a

           30-day supply of any medications the defendant is receiving from the jail.

      Issued at Sacramento, California on June 21, 2024 at 10:20 AM.



                                     By:

                                           Magistrate Judge Allison Claire
